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                                                 4:18mj0688       United States Courts
                                                                Southern District of Texas
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                                                                      April 27, 2018
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                                                              David J. Bradley, Clerk of Court
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